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 ATTORNEYS FOR MOVANTS

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 In re:                                        §
                                               §       Case No. 10-40095-7
 LAWRENCE J. POPE,                             §
                                               §
          Debtor.                              §

              MOTION TO APPROVE AGREEMENT FOR RELIEF
          FROM THE AUTOMATIC STAY AND WAIVER OF THIRTY DAY
                       HEARING REQUIREMENT

          Wright Ginsberg Brusilow P.C. (“WGB”), creditors in the above captioned

 proceeding, files this Motion to Approve Agreement for Relief from the Automatic Stay

 (“Motion”), and in support thereof represents as follows:

          NO HEARING WILL BE CONDUCTED ON THIS MOTION
          UNLESS A WRITTEN OBJECTION IS FILED WITH THE
          CLERK OF THE UNITED STATES BANKRUPTCY COURT
          AND SERVED UPON THE PARTY FILING THIS
          PLEADING WITHIN FOURTEEN (14) DAYS FROM THE
          DATE OF SERVICE UNLESS THE COURT SHORTENS OR
          EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF
          NO OBJECTION IS TIMELY SERVED AND FILED, THIS
          PLEADING SHALL BE DEEMED TO BE UNOPPOSED,
          AND THE COURT MAY ENTER AN ORDER GRANTING
          THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND
          SERVED IN A TIMELY MANNER, THE COURT WILL
          THEREAFTER SET A HEARING. IF YOU FAIL TO
          APPEAR AT THE HEARING, YOUR OBJECTION MAY BE
          STRICKEN. THE COURT RESERVES THE RIGHT TO
          SET A HEARING ON ANY MATTER.



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                                         JURISDICTION

        1.         This matter is subject to this Court’s core jurisdiction pursuant to 28

 U.S.C. §§ 157(b)(2)(B) and 1334.

        2.         On January 7, 2010, Debtor filed a Voluntary Petition under Chapter 7 of

 the Bankruptcy Code. Linda S. Payne was appointed Chapter 7 Trustee.

                                        BACKGROUND

        3.         WGB is a law firm that represented Debtor in connection with certain pre-

 petition litigation. Mr. Pope executed a Security Agreement dated February 23, 2009, in

 order to secure payment of the fees and expenses of WGB incurred by the Debtor. A true

 and correct copy of the Security Agreement is attached hereto as Exhibit “A”. The

 Security Agreement secures all indebtedness and obligations owed by Debtor to WGB.

 The Security Agreement grants WGB a security interest in the following motorcycles

 (“Collateral”):

                   a. 1978 Lave Motorcycle, VIN 1221;

                   b. 1982 BMW Motorcycle, VIN WB1043500C6175670;

                   c. 1972 BMW Motorcycle, VIN 2985705;

                   d. 1958 IND Motorcycle, VIN JS13584;

                   e. 1942 Harley Davidson Motorcycle, VIN 42UL1382; AND,

                   f. 1970 BSA Motorcycle, VIN HD00472A65F.

 Movant’s liens in the Collateral are properly perfected by notations on the Certificates of

 Title, as evidenced by true and correct copies of the titles attached hereto as Exhibit “B”.

 Movant is owed $74,199.81 in fees and expenses as of April 1, 2010. In addition, the

 Security Agreement provides that the costs and expenses incurred by Movant to collect




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 the indebtedness, including legal fees and expenses, are secured by the Collateral.

 Movant estimates those costs at $1,000. Debtor scheduled the value of the Collateral at

 $41,000.

        4.         Movant has reached an agreement with the Trustee pursuant to §362 of the

 Bankruptcy Code and F.R.B.P. 4001(d) to modify the automatic stay. A copy of the

 proposed Agreed Order Modifying Automatic Stay is filed herewith.           The agreement

 provides that the automatic stay will be lifted to allow Movant to foreclose its interest in

 the Collateral.

        5.         There is no equity in the Collateral. Cause exists for relief from the

 automatic stay.

        WHEREFORE, Movant prays that the Agreed Order Granting Relief from the

 Automatic Stay be entered by the Court, and for such other and further relief as may be

 just and equitable.


                                             Respectfully submitted by:

                                              /s/ Shawn K. Brown
                                             Shawn K. Brown (SBN# 03170490)
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                                            ATTORNEYS FOR MOVANT




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                           CERTIFICATE OF CONFERENCE

 I, Shawn K. Brown, hereby certify that I have held a conference with the Trustee, Linda
 Payne, and she is in agreement with the relief requested herein. Further, I have spoken to
 Judith Swift, counsel for the Debtor, and she does not oppose the relief requested.

                                        /s/ Shawn K. Brown



                              CERTIFICATE OF SERVICE

 I hereby certify that a true and correct copy of this Motion was served via electronic
 means through the Court’s ECF noticing system or first-class mail, postage prepaid, upon
 the Debtors, counsel for the Debtors, the Chapter 7 Trustee, and the Office of the US
 Trustee, as well as all parties on the official mailing matrix, on this 24th day of May,
 2010.

                                        /s/ Shawn K. Brown




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